Case 6:20-cr-00097-JCB-JDL Document 148 Filed 03/02/21 Page 1 of 5 PageID #: 360




                         IN THE UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TEXAS
                                    TYLER DIVISION

   UNITED STATES OF AMERICA, §
                                                     §
                                                     § CASE NUMBER 6:20-CR-00097-JCB
   v.                               §
                                                     §
                                                     §
   SHAWN CARL GAITAN, §
                                                     §
                      ORDER RELATING TO PRETRIAL DISCOVERY
                        AND INSPECTION IN A CRIMINAL CASE


         On the Court's own motion, it is ORDERED:

                                               I.


         Within five days after the arraignment of the defendant, the attorneys for the govern ent

  and the defendant shall jointly meet and confer regarding discovery and inspection. On such

  occasion or on subsequent occasions, upon the request of the defendant:

         A. The government shall disclose to the defendant for inspection, copying or

  photographing:

         (1) any relevant written or recorded statements made by the defendant, or copies
         thereof, within the possession, custody, or control of the government, the existence of
         which is known, or by the exercise of due diligence may become known, to the attorney
         for the government;

         (2) that portion of any written statement containing the substance of any relevant oral
         statement made by the defendant whether before or after arrest in response to interrogation
         by any person then known to the defendant to be a government agent; and

         (3) recorded testimony of the defendant before a grand jury which relates to the offense
         charged.
Case 6:20-cr-00097-JCB-JDL Document 148 Filed 03/02/21 Page 2 of 5 PageID #: 361




          B. The government shall also disclose to the defendant the substance of any other relevant

  oral state ent made by the defendant whether before or after arrest in response to interrogation by

  any person then known to the defendant to be a government agent if the government intends to use

  that statement at trial.

          C. The government shall furnish to the defendant such copy of the defendant's prior

  criminal record, if any, as is within the possession, custody, or control of the government, the

  existence of which is known, or by the exercise of due diligence may become known, to the

  attorney for the government.


          D. The government shall permit the defendant to inspect and copy or photograph books,

  papers, documents, photographs, tangible objects, buildings, places, or copies or portions thereof

  which are within the possession, custody, or control of the government and which are material to

  the preparation of the defendant's defense or are intended for use by the government as evidence

  in chief at the trial or were obtained from or belong to the defendant.

          E. The government shall permit the defendant to inspect and copy or photograph any

  results or reports of physical or mental examinations or of scientific tests or experiments, or copies

  thereof, which are within the possession, custody, or control of the government, the existence of

  which is known, or by the exercise of due diligence may become known, to the attorney for the

  government, and which are material to the preparation of the defense or are intended for use by

  the government as evidence in chief at the trial.

         F. The government shall permit defendant's attorney to inspect and copy or photograph

  any evidence favorable to the defendant.

         G. Pursuant to the Due Process Protections Act, the Court confirms the United States

  obligation to produce all exculpatory evidence to the defendant pursuant to Brady v. Maryland,

  373 U.S. 83 (1963) and its progeny, and orders it to do so. Failin to do so in a timely manner may
Case 6:20-cr-00097-JCB-JDL Document 148 Filed 03/02/21 Page 3 of 5 PageID #: 362




   result in consequences, including, but not limited to, exclusion of evidence, adverse jury

   instructions, dismissal of charges, contempt proceedings, or sanctions by the Court.

                                                                   II.

            Except as provided in subsections LA, .B, .C, and .E hereof, this order does not authorize

  the discovery or inspection of reports, memoranda, or other internal government documents made

  by the attorney for the government or other government agents in connection with the investigation

  or prosecution of the case, or of statements made by government witnesses or prospective

  government witnesses except as provided in 18 U.S.C. §3500.

                                                                   III.

            This order does not relate to discovery or inspection of recorded proceedings of a grand

  jury, except as provided in subsection I.A.3.1

                                                                 IV.

            If additional discovery or inspection is sought, defendant's attorney shall confer with the

  appropriate attorney for the government within ten days of the arraignment, with a view to

  satisfying defendant's requests in a cooperative atmosphere, without recourse to the Court. The

  request may be oral or written.

                                                              V.


            If, in the judgment of the government, it would not be in the interests of justice to disclose

  any one or more of the matters set forth in subsections I.A.l, .2, .3, and section LB that may have

  been requested by the defendant, the government may decline to disclose such matters. In such

  event, the government shall forthwith prepare and serve upon defendant's attorney a written




       1 Reference is made to such discovery and inspection in certain of the federal rules of criminal procedure, specifically: Rule
  6 (concerning, inter alia, exceptions to secrecy of matters occurring before the grand jury); Rule 26.2 (regarding production of
  statements of witnesses); and Rule 12(i) (pertainin to production of statements at a suppression hearin ).
Case 6:20-cr-00097-JCB-JDL Document 148 Filed 03/02/21 Page 4 of 5 PageID #: 363




  statement specifying the matters to which defendant's attorney will not be permitted access. If the

  attorney for the defendant thereafter seeks to challenge the declination, he shall proceed pursuant

  to section VI below.

                                                   VI.

         In the event that agreement could not be reached, and defendant thereafter moves for the

  matters which the government has declined to produce, his or her written motion shall be filed

  within twenty days after the arraign ent. It shall contain:

                 (A) the statement that the prescribed conference was held;

                 (B) the date of said conference;

                 (C) the name of the attorney for the government with whom conference was
         held; and

                 (D) a description of the matters sought; and the statement that agreement could
         not be reached concerning the discovery or inspection of them to defendant.

                                                   VII.

         As an alternative to the declination procedures set forth in section V, the government, upon

  motion, to be filed promptly, and to be inspected by the Court alone, may see an order fro the

  Court that defendant's discovery or inspection be denied, restricted, or deferred with regard to the

  matters requested by the defendant, or for such other order as may be appropriate. If the Court

  finds that a sufficient ex parte showing has been made by the government, it may enter an order

  granting relief in whole or in part. The entire text of the government's motion and any supporting

  docu ents shall be sealed and preserved in the records of the Court, in order that it may be made

  available to an appellate court, in the event of an appeal.
Case 6:20-cr-00097-JCB-JDL Document 148 Filed 03/02/21 Page 5 of 5 PageID #: 364




                                               VIII.

         Any duty of disclosure and discovery set forth in this order is a continuing one; and the

  government shall produce timely any additional information gained by the government.

         ORDERED and SIGNED this 2nd day of March 2021.




                                              K. bjicole Mitchell, U.S. Magistrate Judge
